             Case 1:18-cv-00665-LY Document 35 Filed 02/12/19 Page 1 of 3



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

 FRESENIUS KABI USA, LLC and                    §
 FRESENIUS KABI DEUTSCHLAND                     §
 GMBH,                                          §
                                                §
         Plaintiffs,                            §
                                                §      Civil Action No. 1:18-cv-00665-LY
 v.                                             §
                                                §
 CUSTOPHARM, INC.,                              §
                                                §
         Defendant.                             §

               UNOPPOSED MOTION TO WITHDRAW AS COUNSEL FOR
                       DEFENDANT CUSTOPHARM, INC.

TO THE HONORABLE JUDGE:

        Fernengel Law, LLC and Gregory D. Fernengel (“Movants”) file this Motion to Withdraw

as Counsel for Defendant Custopharm, Inc. (“Custopharm”) pursuant to Local Rule AT-3 and

would respectfully show the Court as follows:

        1.      Fresenius Kabi USA, LLC and Fresenius Kabi Deutschland GMBH originally filed

this action against Custopharm on August 6, 2018. Custopharm filed its answer on December 6,

2018.

        2.      There is good cause for the Court to grant this Motion to Withdraw (the “Motion”)

because the Motion is being filed with the express permission of Custopharm as Fernengel Law,

LLC is no longer counsel for Custopharm.

        3.      Custopharm is represented by McGinnis Lochridge LLP and its attorney, Travis C.

Barton. Custopharm is also represented by Taft Stettinius & Hollister LLP and its attorneys

Stephen R. Auten, Richard T. Ruzich, Donald R. McPhail, and Roshan P. Shrestha, Ph.D.
             Case 1:18-cv-00665-LY Document 35 Filed 02/12/19 Page 2 of 3



        4.      This Motion is not being filed for the purposes of delay. Movants have conferred

with opposing counsel and said counsel is unopposed to the relief sought in this Motion. This

matter is currently not set for trial.

                                     CONCLUSION AND PRAYER

        For these reasons, Movants ask the Court to grant this Motion and allow Fernengel Law,

LLC and Gregory D. Fernengel to withdraw as attorneys for Defendant Custopharm, Inc.

                                             Respectfully submitted,

                                             Gregory D. Fernengel, RPh, Esq.
                                             (Admitted Pro Hac Vice)
                                             FERNENGEL LAW, LLC
                                             8193 Avery Road, Suite 101
                                             Broadview Heights, OH 44147
                                             216-714-3376
                                             greg@fernlawfirm.com



                                             By: /s/ Gregory D. Fernengel
                                                 Gregory D. Fernengel
         Case 1:18-cv-00665-LY Document 35 Filed 02/12/19 Page 3 of 3



                             CERTIFICATE OF SERVICE

     I hereby certify that the foregoing document was served on the following using the
CM/ECF E-filing System on this 12th day of February 2019:

      Cabrach J. Connor                           Travis C. Barton, Lead Counsel
      Kevin S. Kudlac                             MCGINNIS LOCHRIDGE LLP
      CONNOR KUDLAC LEE PLLC                      600 Congress Avenue, Suite 2100
      609 Castle Ridge Road, Suite 450            Austin, Texas 78701
      Austin, TX 78746                            tcbarton@mcginnislaw.com
      cab@connorkudlaclee.com
      kevin@connorkudlaclee.com                   Stephen R. Auten, Esq.
                                                  Richard T. Ruzich, Esq.
      Mark G. Davis                               Donald R. McPhail, Esq.
      GOODWIN PROCTER LLP                         Roshan P. Shrestha, Ph.D.
      901 New York Avenue, NW                     TAFT STETTINIUS & HOLLISTER LLP
      Washington, DC 20001                        111 E. Wacker Drive, Suite 2800
      markdavis@goodwinlaw.com                    Chicago, Illinois 60601-3713
                                                  sauten@taftlaw.com
      John T. Bennett                             rruzich@taftlaw.com
      Samuel Sherry                               dmcphail@taftlaw.com
      GOODWIN PROCTER LLP                         rshrestha@taftlaw.com
      100 Northern Avenue
      Boston, MA 02210                            Attorneys for Defendant Custopharm, Inc.
      jbennett@goodwinlaw.com
      ssherry@goodwinlaw.com

      Attorneys for Plaintiffs Fresenius
      Kabi USA, LLC and Fresenius Kabi
      Deutschland GMBH



                                           /s/ Gregory D. Fernengel
                                           Gregory D. Fernengel
